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                         IN THE UNITED STATES DISTRICT COURT FOR THE
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                                 EASTERN DISTRICT OF CALIFORNIA
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 9
10        UNITED STATES OF AMERICA,                    Case No. 1:12-cr-00213-AWI

11                          Plaintiff,                 ORDER SETTING BRIEFING
                    v.                                 SCHEDULE
12
          ELISENO JARA, JR., SERGIO JARA,
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          ANTONIO PEREZ-MARCIAL,
14        LUCIA YOLANDA CHAVEZ,
          ARLENE JEANETTE MOJARDIN,
15        CANDACE SHANTEL GONZALES,
          JOESPH SHAWN CHAVEZ, JR.,
16
          MELISS ROCHELLE JARA, AND
17        RICHARDO FABIAN SALINAS,

18                     Defendants.
     __________________________________/
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20
            EverBank has filed a petition for determination of its interest in the real property at 1213
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     Monterey Street, Bakersfield, Kern County, California 93305 (“the Property”). EverBank has
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     submitted a promissory note and deed of trust tending to indicate that it may hold or have held an
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     interest in the Property.
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            Preliminary orders of forfeiture as to the Property were entered on October 5, 2015
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     against Eliseo Jara, Jr., Sergio Jara, Lucia Yolanda Chavez, and Melissa Rochelle Jara. Those
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     orders all required the United States to publish notice of the preliminary order of forfeiture to the
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     government forfeiture site located at www.forfeiture.gov and, to the extent practicable, to
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 1 provide direct written notice to any person known to have alleged an interest in the property
 2 subject to forfeiture. Docs. 275-277, 279; 21 U.S.C. 853(n)(1). That notice was required to state
 3 that any third-party asserting a legal interest in the property subject to forfeiture was required to
 4 file a petition with the Court within sixty (60) days from the first date of publication of the notice
 5 of forfeiture posted on the government site or thirty (30) days of receipt of direct notice,
 6 whichever is earlier. 21 U.S.C. 853(n)(1). Those preliminary orders of forfeiture have all been
 7 made final. See Docs. 286-288, 293.
 8         The Court’s docket does not contain any evidence of when the notices of forfeiture were
 9 published or whether EverBank (or its predecessors in interest or any other known lienholders)
10 were ever served with notice of the forfeiture. The Government is ordered to submit a response
11 to EverBank’s petition within twenty-one (21) days of the date of this order. EverBank may
12 submit a reply within thirty-five (35) days of this order or fourteen (14) days of the
13 Government’s response, whichever comes first. After briefing is submitted, the Court will rule
14 on the petition or, if necessary, will schedule a hearing. The motion hearing set for March 7,
15 2016 is vacated.
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     IT IS SO ORDERED.
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18 Dated: January 29, 2016
                                                 SENIOR DISTRICT JUDGE
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